UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
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ANA CHALAS, individually and on behalf of all others :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :      22-CV-3892 (JMF)
                                                                       :
                  -v-                                                  :            ORDER
                                                                       :
FAMILY FOODS, INC.,                                                    :
                                                                       :
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

       Plaintiff alleges that Defendant’s website is not accessible to blind and visually impaired
customers and, thus, violates Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §
12181 et seq. In the Court’s experience, the vast majority of cases involving such claims are resolved
early — often without even an initial pretrial conference.

       Accordingly, no later than the earlier of 100 days from the date of this Order or two
weeks after Defendant appears in the case, the parties shall file a joint letter (unless Defendant has
not appeared, in which case Plaintiff shall file the letter individually), not to exceed two pages,
including the following information in separately numbered paragraphs:

        (1)      Unless Defendant has already answered, the date on which Plaintiff served Defendant
                 with the Complaint and Defendant’s deadline to answer. (If Plaintiff has not served
                 Defendant within 90 days of filing the Complaint, in accordance with Rule 4(m) of the
                 Federal Rules of Civil Procedure, and filed proof of such service on the docket, the case
                 may be dismissed on that basis.)

        (2)      A brief description of any discovery that has already taken place and of any discovery
                 that is necessary for the parties to engage in meaningful settlement negotiations.

        (3)      A list of all prior settlement discussions, if any, including the date, the parties involved,
                 and the approximate duration of such discussions.

        (4)      A statement confirming that the parties have discussed the use of alternate dispute
                 resolution mechanisms and indicating whether the parties believe that (a) a settlement
                 conference before a Magistrate Judge; (b) participation in the District’s Mediation
                 Program; and/or (c) retention of a privately retained mediator would be appropriate and,
                 if so, when.


        (5)      Whether there is anything the Court can do to facilitate settlement (including but not
               limited to referring the matter for a settlement conference before a Magistrate Judge or
               to the District’s Mediation Program).

       (6)     To the extent that Defendant has not answered or appeared, whether Plaintiff intends to
               move for default judgment (and, if so, when Plaintiff would be prepared to do so)
               and/or whether any party intends to move for an extension of Defendant’s deadline to
               answer.

       (7)     Whether any party believes that the Court should hold a conference to address any of
               the foregoing and, if so, when.

         If any party believes that discovery is necessary or that an initial pretrial conference should be
held, the parties shall, by the same date and in lieu of the aforementioned letter, file on ECF (1) a joint
letter in accordance with Paragraph 2.B of the Court’s Individual Rules and Practices and as described
below; and (2) a proposed Civil Case Management Plan and Scheduling Order attached as an exhibit to
the joint letter. The parties shall use this Court’s form Proposed Civil Case Management Plan and
Scheduling Order, which is also available at https://www.nysd.uscourts.gov/hon-jesse-m-furman.
After reviewing the parties’ submissions, the Court will decide if an initial pretrial conference is
necessary.

       The parties’ joint letter shall not exceed five (5) pages and shall provide the following
information in separate paragraphs:

       (1)     A brief statement of the nature of the action and the principal defenses thereto;

       (2)     A brief explanation of why jurisdiction and venue lie in this Court;

       (3)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)     A brief description of any outstanding motions;

       (5)     A brief description of any discovery that has already taken place and of any discovery
               that is necessary for the parties to engage in meaningful settlement negotiations;

       (6)     A list of all prior settlement discussions, including the date, the parties involved, and the
               approximate duration of such discussions, if any;

       (7)     A statement confirming that the parties have discussed the use of alternate dispute
               resolution mechanisms and indicating whether the parties believe that (a) a settlement
               conference before a Magistrate Judge; (b) participation in the District’s Mediation
               Program; and/or (c) retention of a privately retained mediator would be appropriate and,
               if so, when in the case (e.g., within the next sixty days; after the deposition of plaintiff
               is completed; after the close of fact discovery; etc.) the use of such a mechanism would
               be appropriate;

       (8)     Any other information that the parties believe may assist the Court in advancing the
               case to settlement or trial, including, but not limited to, a description of any dispositive
               issue or novel issue raised by the case; and


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       (9)     Whether the parties believe that an initial pretrial conference is necessary.

        To be clear, the deadline for either of the letters described above is just an outside
deadline. That is, the parties may file the appropriate letter sooner — and, indeed, should do so in the
event that they believe the Court should hold a conference or allow discovery to commence.

        If this case has been settled or otherwise terminated, counsel are not required to submit either
letter mentioned above or to appear for any scheduled conference, provided that a stipulation of
discontinuance, voluntary dismissal, or other proof of termination is filed on the docket using the
appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A,
available at https://nysd.uscourts.gov/rules/ecf-related-instructions.

        In accordance with the Court’s Individual Rules and Practices, requests for an extension or
adjournment may be made only by letter-motion filed on ECF and must be received at least 48 hours
before the deadline or conference. The written submission must state (1) the original date(s); (2) the
number of previous requests for adjournment or extension; (3) whether these previous requests were
granted or denied; and (4) whether the adversary consents and, if not, the reasons given by the
adversary for refusing to consent.

       All counsel are required to register promptly as filing users on ECF and to familiarize
themselves with the SDNY ECF Rules & Instructions, which are available at https://www.nysd.
uscourts.gov/electronic-case-filing. All counsel must also familiarize themselves with the Court’s
Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-jesse-m-furman.
Absent leave of Court obtained by letter-motion filed before the conference, all pretrial conferences
must be attended by the attorney who will serve as principal trial counsel.

        Counsel who have entered a notice of appearance as of the issuance of this order are
directed (1) to notify counsel for all other parties in this action who have not yet appeared by
serving upon each of them a copy of this order and the Court’s Individual Rules and Practices
forthwith, and (2) to file proof of such notice with the Court. If unaware of the identity of counsel
for any of the parties, counsel receiving this order must forthwith send a copy of this order and the
Court’s Individual Rules and Practices to that party personally.

       SO ORDERED.

Dated: May 13, 2022                                __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




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